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8
                                 UNITED STATES DISTRICT COURT
9
                               NORTHERN DISTRICT OF CALIFORNIA
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12
     UNITED STATES OF AMERICA,                    )       No. CR 05-00284 SI
13                                                )
            Plaintiff,                            )       SPEEDY TRIAL ORDER
14                                                )
                                                  )
15   AKRAM CHAUDHRY,                              )
     MOHAMMAD ADIL,                               )
16                                                )
                                                  )
17      Defendants.                               )
                                                  )
18                                                )
19
            The United States, by and through Assistant United States Attorney Mark Zanides, and
20
     defendants Akram Chaudhry and Mohammad Adil, through their attorneys Frank Bell and Marc
21
     Axelbaum, stipulated in open court, and the Court agrees, that the time period between January 6,
22
     2006, and January 20, 2006, be excluded from the time within which the trial of the above
23
     captioned matter must commence under the Speedy Trial Act.
24
            On August 5, 2005, Mr. Frank Bell was appointed to substitute in for Mr. Chaudhry’s
25
     prior counsel. The discovery in this case at that time consisted of over 1250 pages, including
26   tape recordings of conversations in the Urdu language. In late September, 2005, the government
27   produced substantial additional discovery to the defendant Chaudhry, which it represents relates
28   to additional criminal acts committed by Mr. Chaudhry but which are not now charged.


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1             Mr. Bell has advised the Court that Mr. Chaudhry has directed him to do no further work
2    on the case. Mr. Bell further stated that he is informed by defense attorney Martin Guajardo that

3    Mr. Chaudhry and Mr. Guajardo are discussing arrangements for Chaudhry to retain Mr.

4    Guajardo. Those arrangements have not been concluded.

5             Due to an administrative error, the defendant Chaudhry was not personally present in

6    court on January 6, 2006, so the Court could not address these concerns directly with him..

7             Under the circumstances, the Court finds that it is reasonable to permit the defendant
     Chaudhry the time to conclude arrangements with new counsel, and to permit new counsel to
8
     review the discovery materials. Accordingly, the foregoing period of time is excluded pursuant
9
     to 18 U.S.C. § 3161(h)(8)(B)(iv) in order for the parties to prepare effectively for trial, and for
10
     continuity of counsel. The parties agree and the Court finds pursuant to 18 U.S.C. §
11
     3161(h)(8)(A) that the ends of justice served by the exclusion of time outweigh the bests interest
12
     of the public and the defendants in a speedy trial.
13
              Defendant Adil, through his counsel Marc Axelbaum, concurs in this continuance and
14
     Speedy Trial finding.
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     Dated:                                           ________________________________
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17                                                    SUSAN ILLSTON
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     Speedy Trial Order
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